UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW MEXlCG
In re: Las Uvas Valley Dairies
a NeW Mexico general partnership,
EIN: XX-XXXXXXX,

Debtor. l No. 17-12356-tll
CERTIFICATE OF SERVICE

I, the undersigned certify that l am, and at all times hereinafter mentioned, more than 18 years of
age; and that l served Cereal Byproducts Company’s Motion for Sanctions under Rule 9011 Against
Production Credit Association of Southern New Mexico (F arm Credit of New Mexico) and a copy of this
Certiticate of Mailing as follows:

Service Was made on this 12‘h day of June, 2018, by placing a true and correct copy thereof in a
sealed packet and deposited With the United States Postal Service, via first class mail, postage prepaid,

addressed to the following

Roggow Law, LLC
James A. Roggow, Esq.
205 W. Boutz Rd., Bldg. 2, Suite C
Las Cruces, NM 88005
, Attorneyfor Credz'tor PCA/Farm Credl`l

Under penalty of perjury, l declare that the foregoing is true and correct

Executed on this 12th day of June, 2018, Albuquerque, New Mexico.

/s/ eleclromcallv filed on 06/12/18“/%§
Joel Alan Gaffney, Esq.

William F. Davis, Esq.

WILLlAM F. DAVIS & ASSGC., P.C.
6709 Academy NE, Suite A
Albuquerque, NM 87109

(505) 243~6129

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Certifl`cale ofService

